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Welcorne to Massillon lnterrnediate/Jr. Hign Scnool

Attacl\ed are tl/\e usual Forn/\s to Fill oat and return to rne asap.

/-\lso attached is inForc/nation regarding our Sansnine or StaFF Fand.

§§ A $BO. 00 donation per gear, per staFF rnernper) provides as Witl\

moneg For the end-OF-gear lancl/\, retirement parties, giFts, etc.
Cl\eel<s should be made pagaple to “MlS/MJH StaFF Fand.” Evergone
is Welconae to be on tl/\e Sansnine Cornrnittee and help Witla events

JUSTA FEW REMlNDERS
Please call rne or ernail me regarding copier issues and l Will place tl/\e
service calls. Color copg paper nas been delivered to all Worl<roorns,'
tl/\is is our allotment For tne gear. And please loe l<ind to tl/\e copiers;
please do not slarn tne trags. Rernernloer no student are rrnitted

to use the copiers!

l-lave a great gear!

Jodi

 

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STAFF EHERGENCY HEDICAL lNFORMATION

DATE' 7 g
Hame ' Birthday

Home Addrees

 

 

Home Telephone no.

 

Who is to be notified in case of accident or illneee:
Name Phone Nc~ -
Reiationehlp Work No.

 

Name of Employer

 

 

 

OP,,
Name ` _ . Phone No.
Relationehip Work No.

Name of Employer

 

Facte concerning your medical history including contact
lenses, allergiee. medicatione being taken, and any physical
impairments to which a physician and/or Emergency Squad`
ehould be alerted in the event of an emergencyr

 

 

 

Preferred Hospital

Preferred Doctor

 

?reterred Dentlet

 

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SUNSHINE COMMITTEE

 

Each staff member shall contribute $30.00 annually to MIS/ MJH Staff Fund to be operated
by the Sunshine Committee. This fund will be used for various functions including, but
not limited to, the Christmas party, retirement parties, end-of-year luncheon and the
following:

FLO WERS

Flowers are sent in case Of illness Of a staff member who is hospitalized or sick for a period
one week or more.

Flowers Or gifts are sent to a staff member for the birth of a first child. Cards Will be sent
for a second child, etc.

In case of death in the immediate family (husband, wife, father, mother, father-in-law,

mother-in-law, brother, sister, or child) flowers are sent to the staff member, or, if specified
by the family, a donation is sent to the Charity of their choice in the amount of $30.00.

GIFTS

A gift in the amount of 50.00 will be sent to a staff member for their first marriage A card
Will be sent for second marriage, etc.

Staff members who are retiring will receive the following gifts:

5 - 9 years of district-wide service $20.00
10 - 15 years of district~wide service $30.00
16 - 24 years of district-wide service $40.00

25 or more years of district-wide service $50.00

Staff members who choose not to contribute the $30.00, will receive cards and will be
charged a small fee for activities normally covered by the fund, including the end~of-the-
year luncheon.

Checks should be made payable to “MIS/MJI-I Staff Fund.”

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August, 2015

Dear Staff Mernb.er:

- 4 Filed:
0 S

In Pu,rsuit of Excellence

 

The following information is needed to keep your records up to date in our office lt will be
used for the staff d-irectory, staff liStS, county directory and the Treasurer’S office Please fill
it out completely and return it to your building Secretary by Fridayq August 21, 2015.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

l_asl l Fin;l
Name:
Street
Hoine Address: C_ S - l
Includc City & Zip ny tate le Coilt
Code
Phone Numb er:'
Scliool/Building:
Job Title:
GradelSubj ect:
Building phone
extension
Race:(Optional) . . . .
. Af ran Amencai Hii
Circle Onc y c 1 gpaan
Wol'k:
Email Address: .
Home (Optlonal):

 

 

l give permission for the above information to be printed in the staff directory
which is made available to building Secretaries and principals.`

Sincerely,
Mark Fortner

Assistant Superintendent
l\/lassiilon City Schools

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-l\/lassillon City Schools

STAFF EDUCAT|ON TECHNO|_OGY ACCEPTABL'E USE
AND SAFETY.AGREEN|ENT

 

To access and use the District's Education Technology, including a school-assigned e-mai| account
andlor the |nternet at schoo|, staff members must sign and return this form.

Use of the Education Techno|ogy is a privil`ege, not a right The Board's Education Techno|ogy,
including its lnternet connection and online educational services, is provided for business, professional
and educational purposes only. Unauthor`ized or inappropriate use will result in a cancellation of this
privilege and possibly further disciplinary action

The Board has implemented technology protection measures, which protect against (e.g. block/filter)
internat access to visual dlsplays/deplctions'l-materiais that are obscene, constitute child pornography,
or are harmful to minors. The Board also monitors online activity of staff members in an effort to
restrict access to child pornography and other material that is obscene objectionable inappropriate
and/or harmful to minors ( ) The Superintendent or may disable the technology protection
measures to enable access for bona fide research or other lawful purposes

Staff members accessi`ng the internat through the Board‘s Education Technology are personally
responsible and liable, both civilly and crimina||y.. for unauthorized -or inappropriate use of the lnternet.

The Board reserves the right at any time, to access, monitor, review and inspect any directories, files

and/or messages residing on or sent using the Board' s Education Techno|ogy l\l|essages relating .to or

in support of illegal activities will be reported to the appropriate authorities

[] `|'0 the extent that a staff member has the proprietary rights to the design of a Website hosted on
the Board' s servers the staff member agrees to license in perpetuity the use of the website by
the Board without further compensation

P|ease complete the following -information:

Staff i\/lember's Full Name (please print):

 

Schoo|:

 

l have read and agree to abide by the Statf Education Technology Acceptable Use and Safety Policy
and Guidelines. l.understand that any violation o_f the terms and conditions set forth in the Po|i'cy is
inappropriate and may constitute a criminal offense As a user of the Board's Education Techno|ogy, |
agree to communicate over the lnternet and the network in an appropriate manner, honoring all
relevant |aws, restrictions and guidelines l understand that individual users have no expectation of
privacy related to their use of the District’s -EducationTechnology.

Staff |Vlember's Signature: 'Date:

 

The Superi`ntendent is responsible for determining what is
unauthorized or inappropriate use. The Superintendent may
deny, revoke or suspend access to and use of the Education
Technology to individuals who violate the Board's §t_a_f_f
Education Technoloqy Acceptable Use and Safetv Policv and
related Guidelines and take such other disciplinary action as
is appropriate pursuant to the applicable collective
bargaining agreement State law and/or Board ‘Po|icy.

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